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Upon release from imprisonment, the defendant shall be placed on supervised release for a term of two (2) years under
the following terms and conditions:

          1.          The defendant shall comply with the rules and regulations of the United States Probation
                      & Pretrial Services Office and General Order 20-04, excluding Condition 14 of Section I
                      of that Order. 2

          2.          During the period of community supervision, the defendant shall pay the special
                      assessment in accordance with this judgment's orders pertaining to such payment.

          3.          The defendant shall cooperate in the collection of a DNA sample from the defendant.

          4.          The defendant shall refrain from any unlawful use of a controlled substance. The defendant
                      shall submit to one drug test within 15 days of release from imprisonment and at least two
                      periodic drug tests thereafter, not to exceed eight tests per month, as directed by the
                      Probation Officer.

          5.          The defendant shall provide the Probation Officer with access to any and all business
                      records, client lists, and other records pertaining to the operation of any business owned,
                      in whole or in part, by the defendant, as directed by the Probation Officer.

          6.          The defendant shall report to the United States Probation Office within 72 hours of his
                      release from custody.

          7.          The defendant shall not possess, have under his control, or have access to any firearm,
                      explosive device, or other dangerous weapon, as defined by federal, state, or local law.

          8.          The defendant shall submit person and property to search and seizure at any time of the
                      day or night by any law enforcement officer with or without a warrant and with or without
                      reasonable or probable cause.

It is further ordered that the defendant surrender himself to the institution designated by the Bureau of Prisons on or
before 12 noon, on AUGUST 31, 2020. In the absence of such designation, the defendant shall report on or before the
same date and time to the United States Marshal located at the United States Court House, 411 West Fourth Street, Suite
4170, Santa Ana, California 92701-4516.

The recommendation for self-surrender is contingent upon the Court having made the requisite findings pursuant to 18
U.S.C. § 3143(a) (release or detention pending sentence).




2
 In U.S. v. Magdirila, No. 18-50430 (9th Cir. June 23, 2020), the Ninth Circuit held that Standard Condition 14 of General Order
20-04 is unconstitutionally vague.

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 In addition to the special conditions of supervision imposed above, it is hereby ordered that the Standard Conditions of Probation and
 Supervised Release within this judgment be imposed. The Court may change the conditions of supervision, reduce or extend the period of
 supervision, and at any time during the supervision period or within the maximum period permitted by law, may issue a warrant and revoke
 supervision for a violation occurring during the supervision period.




            August 26, 2020
            Date                                                           DAVID O. CARTER, U. S. District Judge
 It is ordered that the Clerk deliver a copy of this Judgment and Probation/Commitment Order to the U.S. Marshal or
 other qualified officer.

                                                                           Clerk, U.S. District Court




            August 26, 2020                                        By      /s/ Kelly Davis
            Filed Date                                                     Kelly Davis, Deputy Clerk


 The defendant must comply with the standard conditions that have been adopted by this court (set forth below).

                                STANDARD CONDITIONS OF PROBATION AND SUPERVISED RELEASE

                                 While the defendant is on probation or supervised release pursuant to this judgment:
 1.    The defendant must not commit another federal, state, or local crime;      9.     The defendant must not knowingly associate with any persons
 2.    The defendant must report to the probation office in the federal                  engaged in criminal activity and must not knowingly associate with
       judicial district of residence within 72 hours of imposition of a                 any person convicted of a felony unless granted permission to do so
       sentence of probation or release from imprisonment, unless                        by the probation officer. This condition will not apply to intimate
       otherwise directed by the probation officer;                                      family members, unless the court has completed an individualized
 3.    The defendant must report to the probation office as instructed by the            review and has determined that the restriction is necessary for
       court or probation officer;                                                       protection of the community or rehabilitation;
 4.    The defendant must not knowingly leave the judicial district without       10.    The defendant must refrain from excessive use of alcohol and must
       first receiving the permission of the court or probation officer;                 not purchase, possess, use, distribute, or administer any narcotic or
 5.    The defendant must answer truthfully the inquiries of the probation               other controlled substance, or any paraphernalia related to such
       officer, unless legitimately asserting his or her Fifth Amendment                 substances, except as prescribed by a physician;
       right against self-incrimination as to new criminal conduct;               11.    The defendant must notify the probation officer within 72 hours of
 6.    The defendant must reside at a location approved by the probation                 being arrested or questioned by a law enforcement officer;
       officer and must notify the probation officer at least 10 days before      12.    For felony cases, the defendant must not possess a firearm,
       any anticipated change or within 72 hours of an unanticipated change              ammunition, destructive device, or any other dangerous weapon;
       in residence or persons living in defendant’s residence;                   13.    The defendant must not act or enter into any agreement with a law
 7.    The defendant must permit the probation officer to contact him or her             enforcement agency to act as an informant or source without the
       at any time at home or elsewhere and must permit confiscation of                  permission of the court;
       any contraband prohibited by law or the terms of supervision and           14.    As directed by the probation officer, the defendant must notify
       observed in plain view by the probation officer;                                  specific persons and organizations of specific risks posed by the
 8.    The defendant must work at a lawful occupation unless excused by                  defendant to those persons and organizations and must permit the
       the probation officer for schooling, training, or other acceptable                probation officer to confirm the defendant’s compliance with such
       reasons and must notify the probation officer at least ten days before            requirement and to make such notifications;
       any change in employment or within 72 hours of an unanticipated            15.    The defendant must follow the instructions of the probation officer
       change;                                                                           to implement the orders of the court, afford adequate deterrence from
                                                                                         criminal conduct, protect the public from further crimes of the
                                                                                         defendant; and provide the defendant with needed educational or
                                                                                         vocational training, medical care, or other correctional treatment in
                                                                                         the most effective manner.




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   X The defendant must also comply with the following special conditions (set forth below).

           STATUTORY PROVISIONS PERTAINING TO PAYMENT AND COLLECTION OF FINANCIAL SANCTIONS

           The defendant must pay interest on a fine or restitution of more than $2,500, unless the court waives interest or unless the fine or
 restitution is paid in full before the fifteenth (15th) day after the date of the judgment under 18 U.S.C. § 3612(f)(1). Payments may be subject
 to penalties for default and delinquency under 18 U.S.C. § 3612(g). Interest and penalties pertaining to restitution, however, are not applicable
 for offenses completed before April 24, 1996.

          If all or any portion of a fine or restitution ordered remains unpaid after the termination of supervision, the defendant must pay the
 balance as directed by the United States Attorney’s Office. 18 U.S.C. § 3613.

          The defendant must notify the United States Attorney within thirty (30) days of any change in the defendant’s mailing address or
 residence address until all fines, restitution, costs, and special assessments are paid in full. 18 U.S.C. § 3612(b)(l)(F).

          The defendant must notify the Court (through the Probation Office) and the United States Attorney of any material change in the
 defendant’s economic circumstances that might affect the defendant’s ability to pay a fine or restitution, as required by 18 U.S.C. § 3664(k).
 The Court may also accept such notification from the government or the victim, and may, on its own motion or that of a party or the victim,
 adjust the manner of payment of a fine or restitution under 18 U.S.C. § 3664(k). See also 18 U.S.C. § 3572(d)(3) and for probation 18 U.S.C.
 § 3563(a)(7).

           Payments will be applied in the following order:

                      1. Special assessments under 18 U.S.C. § 3013;
                      2. Restitution, in this sequence (under 18 U.S.C. § 3664(i), all non-federal victims must be paid before the United
                        States is paid):
                                Non-federal victims (individual and corporate),
                                Providers of compensation to non-federal victims,
                                The United States as victim;
                      3. Fine;
                      4. Community restitution, under 18 U.S.C. § 3663(c); and
                      5. Other penalties and costs.

            CONDITIONS OF PROBATION AND SUPERVISED RELEASE PERTAINING TO FINANCIAL SANCTIONS

          As directed by the Probation Officer, the defendant must provide to the Probation Officer: (1) a signed release authorizing credit
 report inquiries; (2) federal and state income tax returns or a signed release authorizing their disclosure and (3) an accurate financial statement,
 with supporting documentation as to all assets, income and expenses of the defendant. In addition, the defendant must not apply for any loan
 or open any line of credit without prior approval of the Probation Officer.

          The defendant must maintain one personal checking account. All of defendant’s income, “monetary gains,” or other pecuniary
 proceeds must be deposited into this account, which must be used for payment of all personal expenses. Records of all other bank accounts,
 including any business accounts, must be disclosed to the Probation Officer upon request.

         The defendant must not transfer, sell, give away, or otherwise convey any asset with a fair market value in excess of $500 without
 approval of the Probation Officer until all financial obligations imposed by the Court have been satisfied in full.

                                 These conditions are in addition to any other conditions imposed by this judgment.




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                                                                    RETURN

I have executed the within Judgment and Commitment as follows:
 Defendant delivered on                                                                      to
 Defendant noted on appeal on
 Defendant released on
 Mandate issued on
 Defendant’s appeal determined on
 Defendant delivered on                                                                    to
     at
     the institution designated by the Bureau of Prisons, with a certified copy of the within Judgment and Commitment.

                                                                     United States Marshal


                                                              By
            Date                                                     Deputy Marshal




                                                                   CERTIFICATE

 I hereby attest and certify this date that the foregoing document is a full, true and correct copy of the original on file in my office, and in my
 legal custody.
                                                                     Clerk, U.S. District Court


                                                              By
            Filed Date                                               Deputy Clerk



                                                 FOR U.S. PROBATION OFFICE USE ONLY



Upon a finding of violation of probation or supervised release, I understand that the court may (1) revoke supervision, (2) extend the term of
supervision, and/or (3) modify the conditions of supervision.


         These conditions have been read to me. I fully understand the conditions and have been provided a copy of them.



         (Signed)
                      Defendant                                                               Date




                      U. S. Probation Officer/Designated Witness                              Date




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